 Case 24-03859       Doc 130    Filed 07/15/24 Entered 07/16/24 07:16:40             Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                       )               BK No.:     24-03859
The Neely Group, Inc.,                       )
                                             )               Chapter: 11
                                             )
                                                             Honorable A. Benjamin Goldgar
                                             )
                                             )
               Debtor(s)                     )

       ORDER GRANTING DEBTOR'S MOTION TO EXTEND EXCLUSIVE PERIODS

       This case coming on to be heard on the debtor's motion to extend exclusive periods, due notice
having been given, and the court being fully advised, IT IS HEREBY ORDERED:

   The motion is granted. The periods during which the debtor has the exclusive right to file a plan and
disclosure statement and solicit acceptances are extended to October 14, 2024.




                                                          Enter:


                                                                   Honorable A. Benjamin Goldgar
Dated: July 15, 2024                                               United States Bankruptcy Judge

 Prepared by:
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